         Case 2:15-cv-04424-AG-AJW Document 473 Filed 01/15/18 Page 1 of 3 Page ID #:20317
                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                  Central District of California

                                                                         APPLICATION TO THE CLERK TO TAX COSTS

 ATEN International Co., Ltd.
                                                           V.                                                                                      Case Number:                         2:15-cv-04424-AG-AJW
 Uniclass Technology Co., Ltd., et al.

Judgment was entered in this action on 12/12/2017 /                                                                                   469             against ATEN International Co., Ltd.                                                                  .
                                                                                                        Date                     Docket No.


    NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

 Filing fees: see L.R. 54-3.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Fees for service of process: see L.R. 54-3.2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 United States Marshal’s fees: see L.R. 54-3.3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 Reporter’s transcripts: see L.R. 54-3.4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              $10,783.06
 Depositions: see L.R. 54-3.5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  $17,381.18
 Witness fees (itemize on page 2): see L.R. 54-3.6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             $11,776.00
 Interpreter’s and translator’s fees: see L.R. 54-3.7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             $5,711.72
 Docket fees: see L.R. 54-3.8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Masters, commissioners and receivers: see L.R. 54-3.9 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Certification, exemplification and reproduction of documents: see L.R. 54-3.10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                            $5,000.43
 Premiums on bonds and undertakings: see L.R. 54-3.11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Other Costs: see L.R. 54-3.12 (attach court order) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $140.44
 State Court costs: see L.R. 54-3.13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Costs on appeal: see L.R. 54-4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Cost of a bankruptcy appeal to the District Court: see L.R. 54-5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                                                                                                                                                                                                                    TOTAL          $50,792.83

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✔ The Court's CM/ECF System

                                    Conventional service by first class mail
                                    Other

 /s/ Robert E. Aycock                                                                                                                                                            Robert E. Aycock
 Signature                                                                                                                                                                       Print Name

 Attorney for: Defendants Uniclass Technology Co., Ltd., et al.

 Costs are taxed in the amount of

                                                                                                                By:
Clerk of Court                                                                                                               Deputy Clerk                                                                                                   Date

CV-59 (12/14)                                                                                                                           BILL OF COSTS                                                                                               Page 1 of 2
     Case 2:15-cv-04424-AG-AJW Document 473 Filed 01/15/18 Page 2 of 3 Page ID #:20318
                                   WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                       ATTENDANCE             SUBSISTENCE           MILEAGE
                                                                                                                       Total Cost
                NAME, CITY AND STATE
                                                      Days                Days                           Total Cost   Each Witness
                                                             Total Cost            Total Cost   Miles
                  Robert Dezmelyk                      7      $280.00        12    $2,664.00                                $2,944.00
                    Scott Cragun                       7      $280.00        12    $2,664.00                                $2,944.00
                     Ted Chen                          7      $280.00        12    $2,664.00                                $2,944.00
                     Alex Kuan                         7      $280.00        12    $2,664.00                                $2,944.00




                                                                                                           TOTAL          $11,776.00


CV-59 (12/14)                                                BILL OF COSTS                                                 Page 2 of 2
Case 2:15-cv-04424-AG-AJW Document 473 Filed 01/15/18 Page 3 of 3 Page ID #:20319




                                CERTIFICATE OF SERVICE


             I hereby certify that I have caused Defendants’ Application to the Clerk to
       Tax Costs to be filed via CM/ECF with the Clerk of the United States District
       Court, Central District of California, thereby electronically serving it on all
       counsel of record in this matter on January 15, 2018.


                                                      /s/ Heather DeBusk
                                                      Heather DeBusk




                                                 1
